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                     Exhibit
                     Exhibit E
                             E
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   Message

   From:              Reshma   Dalia [/O=CORPORATE/QU=FIRST ADMINISTRATIVE       GROUP/CN=RECIPIENTS/CN=RDALIA]
   Sent:              3/5/2019 10:25:34 AM
   To:                Fischer, Debra L. [debra fischer@morganlewis.com]; Peter Arkley [/O=CORPORATE/QU=First Administrative
                      Group/cn=Recipients/cn=parkley]
   CC:                Jennifer Baumann [/O=CORPORATE/OU=First Administrative Group/cn=Recipients/cn=jbaumann]; Kyra Kono
                      [/O=CORPORATE/OU=EXCHANGE        ADMINISTRATIVE    GROUP   (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=Kyra
                      Monroec42]; Peter Carpenter [/O=CORPORATE/OU=First Administrative Group/cn=Recipients/cn=pcarpenter];
                      Wagmeister, Adam E. [adam.wagmeister@morganlewis.com]
   Subject:           RE: Lockton - Update on Status (Attorney Client Privileged and Attorney Work Product)



   The transition date is definitely 3/11.       will ask PA to remind them when he speaks with each of them next.     Also, one of
   us will be calling each of them prior to 3/11 to let them know what time to arrive and our office address.        Thanks.

   Reshma         Dalia
   Chief Financial Officer
   Alliant Specialty Group
   Alliant Insurance Services,     Inc.

   CO 213 443 2460
   C 213 800 7067
   www alliani.com

   CA License No. 0038881




   From: Fischer, Debra L. [mailto:debra.fischer@morganlewis.com]
   Sent: Tuesday, March 05, 2019 12:11 AM
   To: Peter Arkley <parkley@alliant.com>; Reshma Dalia <rdalia@alliant.com>
   Cc: Jennifer Baumann <jbaumann@alliant.com>; Kyra Kono <Kyra.kono@alliant.com>; Peter Carpenter
   <pcarpenter@alliant.com>; Wagmeister, Adam E. <adam.wagmeister@morganlewis.com>
   Subject: RE: Lockton - Update on Status (Attorney Client Privileged and Attorney Work Product)



   This message has originated outside the organization.



   EE

   Peter and Reshma,


   Following up on yesterday's email, we are still negotiating with all four of the new hires’ counsel regarding the
   employment agreements and are not done yet. In the meantime, | wanted to confirm a few things:

           s    Please confirm we are telling the new hires to resign on Monday morning {March 113}, as opposed to Friday
                afternoon (March 8}. If the resignations happen Friday, Lockton will have all weekend to prepare litigation
                strategy before the new hires are able to bring in business.
           &    Please confirm one of you is going to call each of the new hires to tell them when to resign. Kinder's attorney
                informed me that Kinder was under the impression he would be resigning on Friday, and we don’t want any of
                these folks resigning earlier thon intended.
           s    We are going to reach out to each of the new hires’ counsel tomorrow or Wednesday, depending on the status
                of employment agreement negotiations, to arrange for the forensic remediation process on Thursday or at the
                latest Friday,

   1 will be sending separate emails regarding some of the recruits’ employment agreement negotiations.




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   Thanks,
   Deb

   Bebra L. Fischer
   Morgan, Lewis & Bocldus LLP
   2049 Century Park East | Suite 700 | Los Angeles, CA 90067
   Direct: +1.210.907 1111 | Main: +1.310.907.1000 | Fax; +1.310.907.1001




   From: Fischer, Debra L.
   Sent: Sunday, March 3, 2019 11:44 PM




   Subject: Lockton - Update on Status {Attorney Client Privileged and Attorney Work Product)
   importance: High

   Peter,
   Here is an update on my conversations with all four lawyers, all of whom        | spoke with again on Friday.

   Kinder — His lawyer is being much more cooperative since you spoke with Kinder. We got his many Lockton agreements
   and they are as problematic as McDaniel’s. (Reshma, | am sending you a separate email in the morning on one
   document | don’t think we should have received.) | have spoken to his lawyer about what we will agree to in his Alliant
   EA and have sent an updated draft that | have told him is subject to Alliant’s review as well. He is going to be on vacation
   and unavailable for a week so | will be dealing with his partner who is less agreeable but whom | can handle.

   Cady — Aside from the one change | relayed and which you all have already made, his lawyer unfortunately now has a
   couple more changes. His concerns are not unreasonable and | am working with him on them. Hoping to wrap that up in
   the next day.

   Hansen — His lawyer took some time to get back to me about representing Nick and comments he had on his EA. He left
   me a message late Friday afternoon telling me they have a few proposed changes. | will reach out tomorrow.           He
   appears to be cooperative so hoping his proposed changes are few and reasonable so we can get through it tomorrow.

   McDaniel — His lawyer is VERY unpleasant. As you know, it originally took us a long time to get his changes but |
   understood we were done weeks ago. He just told me on Friday that he has more changes, all | believe relate to Exhibit
   A. | told him that McDaniel would need to talk to you about them, as they all relate to compensation but here is a
   summary:




         Please talk   to McDaniel   about these proposed   changes in 1-3 above and   any other compensation issues   he    has. |
         have repeatedly told his lawyer that we need to get the EA resolved so that we can prepare for McDaniel’s move
         including any litigation prep and that | need to speak with him at length to get information on his client. He had
         previously expressed reluctance to do this but said he would think about it. When | reminded him of this on Friday,
         he went off on me (something like “l am a busy lawyer with a very busy practice and don’t need to be treated like
         some fucking underling.”) Also, he is apparently on vacation this week as well {I must have missed the memo re




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        March vacations), but he assured me, after yelling at me that he would make himself available, for what, it remains
       to be seen.


   Needless to say, we are not where | would like to be just a week before the move but we will do our best. If you could
   encourage the producers to move this along with their lawyers so we can focus on helping them with potential litigation
   — work we are doing for their benefit - | would appreciate it.

   Thanks,
   Deb


   Debra L. Fischer
   Morgan, Lewis & Bocldus LLP
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   Direct: +1.310.907.1111 | Main: +1.310.907.1000 | Fax: +1.310.907.1001


   Assistant: Nichele Goitia | +1.310.907.1047 | nichele.goitia@morganlewis.com



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